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                                                                                                          WWW.RIVKINRADLER.COM

                                                                                                          926 RXR Plaza
                                        The Court will refer the parties to the mediation                 Uniondale, NY 11556-0926
                                                                                                          T 516.357.3000 F 516.357.3333
                                      program by separate order.
                                        The deadline for filing any motion for summary
KENNETH A. NOVIKOFF
PARTNER
                                      judgment is adjourned, provided that the parties
(516) 357-3110                        shall file a joint status letter by July 31, 2024,
ken.novikoff@rivkin.com
                                      proposing a summary judgment briefing schedule if
                                      the case has not settled April  16, date.
                                                                 by that  2024
                                        The Clerk is directed to terminate the motions at
                                      ECF Nos. 70 & 71.
                                        So ordered: 4/17/2024
VIA ECF

Honorable J. Paul Oetken
United States District Court
Southern District of New York
500 Pearl Street, Courtroom 20D
New York, New York 10007

             Re:                     Crespo v. Gutman, Mintz, Baker & Sonnenfeldt, LLP.
                                     Case No. 1:22-cv-6599-JPO

Your Honor:

       The law firm of Rivkin, Radler LLP represents Defendants Gutman, Mintz, Baker & Sonnenfeldt,
LLP, (“Gutman”), Gary Thigpen, (“Mr. Thigpen”), and Eric Keilbach, (Mr. Keilbach”), (collectively
“Gutman Defendants”), in the above referenced action. Reference is made to Plaintiff’s counsel’s letter
dated April 15, 2024. See, Dkt. # 70. I have had the opportunity to address Plaintiff’s application with
both my clients and my clients’ carrier. For the reasons set forth below, the Gutman Defendants do not
oppose Plaintiff’s application.

        The Gutman Defendants have always been willing to engage in good faith discussions concerning
resolution of Plaintiff’s claims. Understanding the costs associated with litigating Plaintiff’s claims, the
Gutman Defendants from the outset of the filing of this action have been desirous of receiving a demand
from Plaintiff’s counsel and engaging, if possible, in good faith discussions towards that goal. No demand
has ever been presented.

       During the recent communications among counsel concerning mediation, the Gutman Defendants
were not opposed to engaging in this process. However, before my clients would agree to mediation, we
wanted Plaintiff to present a demand. We believed that this request was reasonable. Plaintiff’s counsel
would not provide a demand without a commitment to mediation.

       Nevertheless, Plaintiff’s counsel’s filing with the Court signals to my clients and their carrier that
he will, in good faith, mediate his client’s claims and endeavor to reach a reasonable resolution.
Accordingly, the Gutman Defendants do not oppose Plaintiff’s application and if the Court is inclined to


 66 South Pearl Street, 11th Floor        25 Main Street                  477 Madison Avenue                   2649 South Road
 Albany, NY 12207-1533                    Court Plaza North, Suite 501    New York, NY 10022-5843              Poughkeepsie, NY 12601-6843
 T 518.462.3000 F 518.462.4199            Hackensack, NJ 07601-7082       T 212.455.9555 F 212.687.9044        T 845.473.8100 F 845.473.8777
                                          T 201.287.2460 F 201.489.0495
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RIVKIN RADLER LLP

  April 16, 2024
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  grant Plaintiff’s request, the Gutman Defendants simply request that a demand be presented within one
  week of the Court’s issuance of its Order.


                                             Respectfully Submitted,

                                             RIVKIN RADLER, LLP

                                             Kenneth A. Novikoff
                                             Kenneth A. Novikoff
